      Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.2 Page 1 of 15




Austin W. Anderson, austin@a2xlaw.com
(Application for Admission Pro Hac Vice anticipated)
Clif Alexander, clif@a2xlaw.com
(Application for Admission Pro Hac Vice anticipated)
ANDERSON ALEXANDER, PLLC
Attorneys For Plaintiffs
819 North Upper Broadway
Corpus Christi, Texas 78401
Telephone (361) 452-1279

Andrew W. Stavros (8615)
Austin B. Egan (13203)
STAVROS LAW P.C.
8915 South 700 East, Suite 202
Sandy, Utah 84070
Tel: (801) 758-7604
Fax: (801) 893-3573
andy@stavroslaw.com
austin@stavroslaw.com


                        IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH

 VERONICA STENULSON
 and on behalf of all others similarly                             COMPLAINT
 situated,
                                                       (PROPOSED FLSA COLLECTIVE
               Plaintiff,                                ACTION TO 29 U.S.C §216(b)

 v.                                                      (PROPOSED CLASS ACTION
                                                       PURSUANT TO FED. R. CIV. P. 23)
 ROI SOLUTIONS, LLC,
                                                               (JURY DEMANDED)
               Defendant.
                                                           Case No. 2:20-cv-00614-DBB

                                                                Judge David Barlow


         Plaintiff Veronica Stenulson (“Stenulson”) brings this action individually and on behalf of

all current and former hourly non-exempt call-center employees (hereinafter “Plaintiff and the

Putative Class Members”) who worked for ROI Solutions, LLC, (hereinafter “Defendant” or


                                                                                                  1
   Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.3 Page 2 of 15




“ROI”), anywhere in the United States, at any time during the relevant statutes of limitation

through the final disposition of this matter, to recover compensation, liquidated damages, and

attorneys’ fees and costs pursuant to the provisions of Sections 207 and 216(b) of the Fair Labor

Standards Act of 1938, as amended 29 U.S.C. §216(b) and the Montana Wage Payment Act,

MONT. ADMIN. R. tit, 24, ch 16., et seq.

        Plaintiff’s FLSA claims are asserted as a collective action under Section 16(b) of the FLSA,

29 U.S.C. §216(b), while her Montana state law claim is asserted as a class action under Federal

Rule of Civil Procedure 23. The following allegations are based on personal knowledge as to

Plaintiff’s own conduct and are made on information and belief as to the acts of others.

                                                I.
                                             OVERVIEW

        1.       This is a collective action to recover overtime wages, liquidated damages and other

applicable penalties brought pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§§ 201–19, and a Federal Rule of Civil Procedure 23(b) (3) class action pursuant to the state laws

of Montana to recover unpaid wages, overtime wages, and other applicable penalties

        2.       Plaintiff and Putative Class Members are those similarly situated persons who have

worked for ROI Solutions, LLC in call centers, anywhere in the United States within the relevant

statutes of limitations through the final disposition of this matter, and have not been paid for all

hours worked nor the correct amount of overtime in violation of state and federal law.

        3.       Specifically, ROI has enforced a uniform company-wide policy wherein it

improperly required its non-exempt hourly call-center employees—Plaintiff and the Putative Class

Members—to perform work “off-the clock” and without pay.

        4.       ROI’s illegal company-wide policy has caused Plaintiff and the Putative Class

Members to have hours worked that were not compensated and further created a miscalculation of



Original Collective/Class Action Complaint                                                   Page 2
   Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.4 Page 3 of 15




their regular rate(s) of pay for purposes of calculating their overtime compensation each

workweek.

       5.      Although Plaintiff and the Putative Class Members have routinely worked in excess

of forty (40) hours per workweek, Plaintiff and the Putative Class Members have not been paid

overtime of at least one and one-half their regular rates for all hours worked in excess of forty (40)

hours per workweek.

       6.      ROI has knowingly and deliberately failed to compensate Plaintiff and the Putative

Class Members for all hours worked each workweek on a routine and regular basis during the

relevant time period.

       7.      Plaintiff and the Putative Class Members did not (and currently do not) perform

work that meets the definition of exempt work under the FLSA or Montana state law.

       8.      Plaintiff and the Putative Class Members seek to recover all unpaid overtime,

liquidated damages, and other damages owed under the FLSA as a collective action pursuant to 29

U.S.C. § 216(b), and to recover all other damages owed pursuant to Montana state-law as a Rule

23 class action.

       9.      Plaintiff also prays that all similarly situated workers (Putative Class Members) be

notified of the pendency of this action to apprise them of their rights and provide them an

opportunity to opt-in to this lawsuit.

       10.     Plaintiff also prays that the Rule 23 class is certified as defined herein, and Plaintiff

Stenulson be named as Class Representative of the Montana State-Law Class.

                                               II.
                                          THE PARTIES




                                                                                                      3
   Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.5 Page 4 of 15




        11.       Plaintiff Stenulson was employed by ROI in Montana during the relevant time

period. Plaintiff Stenulson did not receive compensation for all hours worked or the correct amount

of overtime compensation for all hours worked in excess of forty (40) hours per workweek.1

        12.       The FLSA Putative Class Members are those current and former non-exempt hourly

call-center employees who were employed by ROI anywhere in the United States at any time from

September 1, 2017 through the final disposition of this matter, and have been subjected to the same

illegal pay system under which Plaintiff worked and were paid.

        13.       The Montana State-Law Class Members are those current and former hourly-call

center employees who were employed by ROI, in Montana, at any time from September 1, 2017

through the final disposition of this matter, and have been subjected to the same illegal pay system

under which Plaintiff Stenulson worked and was paid.

        14.       Defendant ROI Solutions, LLC (“ROI”) is a limited liability corporation whose

licensed to and doing business in the State of Utah and may be served with process through its

registered agent for service of process: CT Corporation System, 1108 E. South Union, Ave,

Midvale, Utah 84047.

                                              III.
                                    JURISDICTION AND VENUE

        15.        This Court has federal question jurisdiction over the FLSA claims pursuant to 28

U.S.C. § 1331 as this is an action arising under 29 U.S.C. §§ 201–19.

        16.       This Court has supplemental jurisdiction over the additional state-law claims

pursuant to 28 U.S.C. §1367.

        17.       This Court has personal jurisdiction over ROI because the cause of action arose

within this District as a result of ROI’s conduct within this District and Division.


        1
            The written consent of Veronica Stenulson is hereby filed as “Exhibit A.”


Original Collective/Class Action Complaint                                                  Page 4
   Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.6 Page 5 of 15




       18.       Venue is proper in the District of Utah, because this is a a judicial district in which

a substantial part of the events or omissions giving rise to the claim occurred.

       19.       Specifically, ROI maintains its business headquarters in the State of Utah and in

this District and Division.

       20.       Venue is therefore proper in this Court pursuant to 28 U.S.C. §1391(b)(2).

                                                IV.
                                         ADDITIONAL FACTS

       21.       ROI employs more than 1000 employees worldwide providing customer service

solutions to its customers.2

       22.       To provide its services, ROI employs thousands of hourly call-center employees—

Plaintiff and the Putative Class Members—who assist ROI’s customers and clients. The Plaintiff

and Putative Class Members work for ROI in call centers owned and operated by ROI.

       23.       Plaintiff and the Putative Class Members’ job duties consisted of answering phone

calls made by ROI’s customers, answering customer/client inquiries, fulfilling orders, accepting

payments, selling business products, and generally assisting customers/clients.

       24.       Plaintiff Veronica Stenulson was employed by ROI as a Customer Service

Representative in Billings, Montana from approximately September 2010 to July 2020.

       25.       Plaintiff and the Putative Class Members are non-exempt call-center employees

who were (and are) paid by the hour.

       26.       Plaintiff and the Putative Class Members typically worked approximately forty (40)

“on-the-clock” hours per week.




       2
           https://roicallcentersolutions.com/




                                                                                                      5
   Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.7 Page 6 of 15




        27.      In addition to their forty (40) “on-the-clock” hours, Plaintiff and the Putative Class

Members worked up to two and a half (2.5) hours “off-the-clock” per week and have not been

compensated for that time.

        28.      Plaintiff and the Putative Class Members have not been compensated for all the

hours they worked for ROI as a result of ROI’s corporate policy and practice of requiring its hourly

call-center employees to clock-in only when ready for their first call.

        29.      Specifically, Plaintiff and the Putative Class Members are required to start up and

log into their computers before their shift officially starts, and then log in to each ROI program,

and ensure that each ROI program is running correctly—all of which can take up to twenty (20)

minutes—before they are able to take their first phone call, which comes in as soon as their

computers are fully operational.

        30.      If Plaintiff and the Putative Class Members are not ready and on the phone at the

start of their scheduled shift, they can be (and often are) subject to discipline.

        31.      If Plaintiff and the Putative Class Members clock in prior to their shift start time,

they are also subject to discipline.

        32.      Therefore, the only way Plaintiff and the Putative Class Members can be ready on

time, and avoid discipline, is to arrive at work early, well in advance of their scheduled shifts, to

prepare their computer “off-the-clock” and without pay.

        33.      Plaintiff and the Putative Class Members were not compensated for work they

performed for ROI prior to their scheduled shifts, including their computer start-up time, although

they were expected to have completed their computer start up in advance of their official start time.

        34.      As a result of ROI’s corporate policies and practices of requiring Plaintiff and

Putative Class Members to perform compensable work for ROI, including their start-up time while




Original Collective/Class Action Complaint                                                     Page 6
     Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.8 Page 7 of 15




off the clock, Plaintiff and the Putative Class Members were not compensated for all hours worked,

including all time worked in excess of forty (40) hours in a workweek at the rates required by the

FLSA.

        35.    ROI has employed other individuals who perform(ed) the same or similar job duties

under the same pay provisions as Plaintiff.

        36.    ROI is aware of its obligation to pay overtime for all hours worked and the proper

amount of overtime for all hours worked in excess of forty (40) each week to Plaintiff and the

Putative Class Members, but as has failed to do so.

        37.    Because ROI did not pay Plaintiff and the Putative Class Members time and a half

for all hours worked in excess of forty (40) in a workweek, ROI’s pay policies and practices

willfully violate the FLSA.

        38.    Because ROI did not pay Plaintiff and the Putative Class Members for all hours

they worked, ROI’s pay policies and practices also violate the state laws of Montana.

                                           V.
                                    CAUSES OF ACTION

                                         COUNT ONE
                         (Collective Action Alleging FLSA Violations)

A.      FLSA COVERAGE

        39.    The FLSA Collective is defined as:

        ALL HOURLY CALL-CENTER EMPLOYEES WHO WERE EMPLOYED BY
        ROI SOLUTIONS, LLC, ANYWHERE IN THE UNITED STATES, AT ANY TIME
        FROM SEPTEMBER 1, 2017 THROUGH THE FINAL DISPOSITION OF THIS
        MATTER. (“FLSA Collective” or “FLSA Collective Members”).

        40.    At all times hereinafter mentioned, ROI has been an employer within the meaning

of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).




                                                                                                7
   Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.9 Page 8 of 15




        41.      At all times hereinafter mentioned, ROI has been an enterprise within the meaning

of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

        42.      At all times hereinafter mentioned, ROI has been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of

the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had two or more employees engaged

in commerce or in the production of goods for commerce, or employees handling, selling, or

otherwise working on goods or materials that have been moved in or produced for commerce by

any person, or in any closely related process or occupation directly essential to the production

thereof, and in that those enterprises have had, and have, an annual gross volume of sales made or

business done of not less than $500,000.00 (exclusive of excise taxes at the retail level which are

separately stated).

        43.      ROI employed (and continues to employ) at least two or more workers—Plaintiff

and the Putative Class Members—to provide goods and services through interstate commerce for

the purposes of the FLSA.

        44.      In performing the operations hereinabove described, Plaintiff and the FLSA

Collective Members were engaged in commerce or in the production of goods for commerce

within the meaning of §§ 203(b), 203(i), 203(j), 206(a), and 207(a) of the FLSA. 29 U.S.C. §§

203(b), 203(i), 203(j), 206(a), 207(a).

        45.      Specifically, Plaintiff and the FLSA Collective Members are (or were) non-exempt

hourly call-center employees of ROI who assisted ROI’s customers who live throughout the United

States. 29 U.S.C. § 203(j).




Original Collective/Class Action Complaint                                                  Page 8
     Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.10 Page 9 of 15




        46.    At all times hereinafter mentioned, Plaintiff and the FLSA Collective Members are

(or were) individual employees who were engaged in commerce or in the production of goods for

commerce as required by 29 U.S.C. §§ 206–07.

        47.    In violating the FLSA, ROI acted willfully and without a good faith basis and with

reckless disregard of applicable federal law.

        48.    The proposed collective of similarly situated employees, i.e. putative collective

members sought to be certified pursuant to 29 U.S.C. § 216(b), is defined in Paragraph 39.

        49.    The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee or personnel records of ROI.

B.      FAILURE TO PAY WAGES AND OVERTIME UNDER THE FLSA

        50.    ROI violated provisions of Sections 7 and 15 of the FLSA, 29 U.S.C. §§ 207, and

215(a)(2) by employing individuals in an enterprise engaged in commerce or in the production of

goods for commerce within the meaning of the FLSA for workweeks longer than forty (40) hours

without compensating such employees for hours worked in excess of forty (40) per workweek at

rates at least one and one-half times the regular rates.

        51.    Plaintiff and the FLSA Collective Members have suffered damages and continue to

suffer damages as a result of ROI’s acts or omissions as described herein; though ROI is in

possession and control of necessary documents and information from which Plaintiff would be

able to precisely calculate damages.

        52.    Moreover, ROI knowingly, willfully and in reckless disregard carried out its illegal

pattern of failing to pay Plaintiff and other similarly situated employees for all hours worked and

the proper amount of overtime compensation for all hours worked over forty (40) each week. 29

U.S.C. § 255(a).




                                                                                                 9
  Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.11 Page 10 of 15




        53.      ROI knew or should have known its pay practices were in violation of the FLSA.

        54.      ROI is a sophisticated party and employer, and therefore knew (or should have

known) its policies were in violation of the FLSA.

        55.      Plaintiff and the FLSA Collective Members, on the other hand, are (and were)

unsophisticated employees who trusted ROI to pay them in accordance with the law.

        56.      The decision and practice by ROI to not pay for all hours worked or the proper

amount of overtime for all hours worked over forty (40) was neither reasonable nor in good faith.

        57.      Accordingly, Plaintiff and the FLSA Collective Members are entitled to be paid for

all hours worked and overtime wages for all hours worked in excess of forty (40) in a workweek

pursuant to the FLSA in an amount equal to one-and-a-half times their regular rate of pay, plus

liquidated damages, attorneys’ fees and costs.

C.      FLSA COLLECTIVE ACTION ALLEGATIONS

        58.      All previous paragraphs are incorporated as though fully set forth herein.

        59.      Pursuant to 29 U.S.C. § 216(b), this collective claim is made on behalf of all of ROI

employees who have been similarly situated to Plaintiff with regard to the work they performed

and the manner in which they have not been paid.

        60.      Other similarly situated employees of ROI have been victimized by ROI’s patterns,

practices, and policies, which are in willful violation of the FLSA.

        61.      The FLSA Collective is defined in Paragraph 39.

        62.      ROI’s failure to pay for all hours worked and overtime compensation at the rates

required by the FLSA, results from generally applicable policies and practices of ROI, and does

not depend on the personal circumstances of the Plaintiff or the FLSA Collective Members.




Original Collective/Class Action Complaint                                                    Page10
  Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.12 Page 11 of 15




       63.     Thus, Plaintiff’s experiences are typical of the experiences of the FLSA Collective

Members.

       64.     The specific job titles or precise job requirements of the various FLSA Collective

Members does not prevent collective treatment.

       65.     All of the FLSA Collective Members—regardless of their specific job titles, precise

job requirements, rates of pay, or job locations—are entitled to be properly compensated for all

hours worked and the proper amount of overtime compensation for all hours worked in excess of

forty (40) hours per workweek.

       66.     Although the issues of damages may be individual in character, there is no

detraction from the common nucleus of liability facts.

       67.     Absent a collective action, many members of the proposed FLSA collective likely

will not obtain redress of their injuries and ROI will retain the proceeds of its rampant violations.

       68.     Moreover, individual litigation would be unduly burdensome to the judicial system.

Concentrating the litigation in one forum will promote judicial economy and parity among the

claims of the individual members of the classes and provide for judicial consistency.

       69.     Accordingly, the FLSA collective of similarly situated plaintiffs should be certified

as defined as in Paragraph 39 and notice should be promptly sent.

                                         COUNT TWO
              (Class Action Alleging Violations of the Montana Wage Payment Act)

A.     MONTANA ACT COVERAGE

       70.     All previous paragraphs are incorporated as though fully set forth herein.

       71.     The Montana Class is defined as:

       ALL HOURLY CALL-CENTER EMPLOYEES WHO WERE EMPLOYED BY
       ROI SOLUTIONS, LLC, IN MONTANA, AT ANYTIME FROM SEPTEMBER 1,




                                                                                                  11
  Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.13 Page 12 of 15




          2017 THROUGH THE FINAL DISPOSITION OF THIS MATTER (“Montana
          Class” or “Montana Class Members”).

          72.    At all times hereinafter mentioned, ROI has been an employer within the meaning

of the MWPA, MONT. CODE ANN. § 39-3-201(5).

          73.    At all times hereinafter mentioned, Plaintiff Stenulson and the Montana Class

Members have been employees within the meaning of the MWPA, MONT. CODE ANN. § 39-3-

201(4).

B.        FAILURE TO PAY WAGES IN ACCORDANCE WITH MONTANA STATUTES

          74.    All previous paragraphs are incorporated as though fully set forth herein.

          75.    ROI owes Plaintiff Stenulson and the Montana Class Members wages, as defined

in section 39-3-210(6) of the MWPA, to compensate them for labor and services they provided to

ROI in the furtherance of their job duties. See MONT. CODE ANN. §39-3-201(6).

          76.    Plaintiff Stenulson and the Montana Class Members are entitled to recover their

unpaid “straight time” or “gap time” wages for services rendered on behalf of ROI.

          77.    These claims are independent of their claims for unpaid overtime wages pursuant

to the FLSA, and they are therefore not preempted by the FLSA.

          78.    Plaintiff Stenulson and the Montana Class work substantial and significant times

off the clock.

          79.    Plaintiff Stenulson and other Montana Class Members are not exempt from

receiving overtime benefits under the MWPA

          80.    Plaintiff Stenulson and the Montana Class Members have suffered damages and

continue to suffer damages as a result of ROI’s acts or omissions as described herein; though ROI

is in possession and control of necessary documents and information from which Plaintiff

Stenulson would be able to precisely calculate damages.



Original Collective/Class Action Complaint                                                    Page12
  Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.14 Page 13 of 15




        81.    The MWPA provides that Plaintiff Stenulson and the Montana Class Members are

entitled to recover 110% of their unpaid wages. See MONT. CODE ANN § 39-3-206(1).

        82.    In violating the MWPA, ROI acted willfully, without a good faith basis and with

reckless disregard of clearly applicable Montana law.

        83.    The proposed class of employees, i.e., Montana class members sought to be

certified pursuant to the MWPA, is defined in Paragraph 71.

        84.    The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee or personnel records or ROI.

C.      MONTANA CLASS ACTION ALLEGATIONS

        85.    Plaintiff Stenulson brings her MWPA claims as a class action pursuant to Federal

Rule of Civil Procedure 23 on behalf of all similarly situated individuals employed by ROI who

worked in Montana since September 1, 2017.

        86.    Class action treatment of Plaintiff Stenulson’s MWPA claim is appropriate

because, as alleged below, all of Federal Rule of Civil Procedure 23’s class action requisites are

satisfied.

        87.    The number of Montana Class Members is so numerous that joinder of all class

members is impracticable.

        88.    Plaintiff Stenulson’s claims share common questions of law and fact with the

claims of the other class members.

        89.    Plaintiff Stenulson is a member of the Montana Class, her claims are typical of the

claims of other Montana Class Members, and she has no interests that are antagonistic to or in

conflict with the interests of other class members.




                                                                                                13
  Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.15 Page 14 of 15




        90.      Plaintiff Stenulson and her counsel will fairly and adequately represent the Montana

Class Members and their interests.

        91.      Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual

class members and because a class action is superior to other available methods for the fair and

efficient adjudication of this litigation.

        92.      Accordingly, the Montana Class should be certified as defined in Paragraph 71.

                                                   VI.
                                             RELIEF SOUGHT

        93.      Plaintiff respectfully prays for judgment against ROI as follows:

                 a.      For an Order certifying the FLSA Collective as defined in Paragraph 39 and

requiring ROI to provide names, addresses, e-mail addresses, telephone number, and social

security numbers of all putative Collective Action Members.

                 b.      For an Order certifying the Montana Class as defined in Paragraph 71 and

designating Plaintiff Stenulson as the Class Representative of the Montana Class;

                 c.      For an Order approving the form and content of a notice to be sent to all

putative FLSA Collective Members advising them of the pendency of this litigation and of their

rights with respect thereto;

                 d.      For an Order pursuant to section 16(b) of the FLSA finding ROI liable for

unpaid wages due to Plaintiff (and those FLSA Collective Members who have joined in the suit),

civil penalties, and for liquidated damages equal in the amount to the unpaid compensation found

due to Plaintiff (and those FLSA Collective Members who have joined in the suit);

                 e.      For an Order pursuant to Montana law awarding Plaintiff Stenulson and the

Montana Class Members unpaid wages and other damages allowed by law;



Original Collective/Class Action Complaint                                                    Page14
  Case 2:20-cv-00614-DBB Document 2 Filed 09/02/20 PageID.16 Page 15 of 15




               f.     For an Order awarding the costs and expenses of this action;

               g.     For an Order awarding attorneys’ fees;

               h.     For an Order awarding pre-judgment and post-judgment interest at the

highest rates allowed by law;

               i.     For an Order awarding Plaintiff Stenulson a service award as permitted by

law;

               j.     For an Order compelling the accounting of the books and records of ROI,

at ROI’s expenses; and

               k.     For an Order Granting such other and further relief as may be necessary and

appropriate.

Date: September 2, 2020                     Respectfully submitted,


                                     By:    /s/ Austin B. Egan
                                            Austin B. Egan
                                            STAVROS LAW P.C.
                                            Attorney for Plaintiff


                                     By:    /s/ Andrew W. Stavros
                                            Andrew W. Stavros
                                            STAVROS LAW P.C.
                                            Attorney for Plaintiff


                                     By:    /s/ Clif Alexander
                                            Clif Alexander
                                            Austin W. Anderson
                                            ANDERSON ALEXANDER, PLLC
                                            Attorneys for Plaintiff
                                            (Pro Hac Vice Admissions Anticipated)




                                                                                              15
